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 2   JEROME PRICE, SBN # 282400
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 4   Sacramento, CA 95814
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 5   Fax: (916) 498-5710

 6   Attorneys for Defendant
     RALEIGH RANA FIGUERAS
 7
 8                              IN THE UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                    )   Case No. 2:16-cr-00045-MCE
                                                  )
12                       Plaintiff,               )   STIPULATION AND ORDER TO
                                                  )   CONTINUE STATUS CONFERENCE
13   vs.                                          )
                                                  )
14   MICHELE R. SERRANO et al.,                   )   Date: October 20, 2016
                                                  )   Time: 10:00 a.m.
15                      Defendant.                )   Judge: Hon. Morrison C. England, Jr.
                                                  )
16                                                )

17           IT IS HEREBY STIPULATED by and between Phillip A. Talbert, Acting United States
18   Attorney, through Michelle Rodriguez, Assistant United States Attorney, attorney for Plaintiff,
19   Dina Lee Santos, attorney for Michele Reyes Serrano and Heather Williams, Federal Defender,
20   through Assistant Federal Defender, Jerome Price, attorney for Raleigh Rana Figueras that the

21   status conference currently scheduled for October 20, 2016, may be continued to December 8,

22   2016 at 10:00 a.m.
23           Defense counsel requires additional time to review discovery with the defendants and
24   continue investigating the facts of the case. Additionally, defense counsel requires more time to
25   investigate factors that impact the sentence exposure.
26           Based upon the foregoing, the parties agree time under the Speedy Trial Act should be

27   excluded from this order’s date through and including December 8, 2016; pursuant to 18 U.S.C.

28

      Stipulation to Continue Status Conference        -1-                   U.S. v. Figueras, 16-cr-45-MCE
       Case 2:16-cr-00045-TLN Document 56 Filed 10/20/16 Page 2 of 3


 1   § 3161 (h)(7)(A) and (B(iv)[reasonable time to prepare] and General Order 479, Local Code T4

 2   based upon continuity of counsel and defense preparation.

 3           Counsel and the defendant also agree that the ends of justice served by the Court granting

 4   this continuance outweigh the best interests of the public and the defendant in a speedy trial.

 5                                                 Respectfully submitted,

 6                                                 HEATHER E. WILLIAMS
                                                   Federal Defender
 7
 8   Date: October 18, 2016                        /s/ Jerome Price
                                                   JEROME PRICE
 9                                                 Assistant Federal Defender
                                                   Attorneys for Defendant
10                                                 RALEIGH RANA FIGUERAS

11
     Date: October 18, 2016                        /s/ Dina Lee Santos
12                                                 DINA LEE SANTOS
                                                   Attorney for Defendant
13                                                 MICHELE REYES SERRANO

14
                                                   PHILLIP A. TALBERT
15                                                 Acting United States Attorney

16
     Date: October 18, 2016                        /s/ Michelle Rodriguez
17                                                 MICHELLE RODRIGUEZ
                                                   Assistant United States Attorney
18                                                 Attorneys for Plaintiff

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      Stipulation to Continue Status Conference      -2-                     U.S. v. Figueras, 16-cr-45-MCE
       Case 2:16-cr-00045-TLN Document 56 Filed 10/20/16 Page 3 of 3


 1                                                  ORDER

 2           The Court having received, read, and considered the parties’ stipulation, and good cause

 3   appearing therefore, adopts the parties’ stipulation in its entirety as its order. It specifically finds

 4   the failure to grant a continuance in this case would deny counsel reasonable time necessary for

 5   effective preparation, taking into account the exercise of due diligence. The Court further finds

 6   the ends of justice are served by granting the requested continuance and outweigh the best

 7   interests of the public and defendant in a speedy trial.

 8           Time from the date the parties stipulated, up to and including December 8, 2016, shall be

 9   excluded from computation of time within which the trial of this case must be commenced under

10   the Speedy Trial Act, pursuant to 18 U.S.C. § 3161 (h)(7)(A) and (B(iv)[reasonable time to

11   prepare] and General Order 479, Local Code T4. It is further ordered the October 20, 2016 status

12   conference shall be continued until December 8, 2016, at 10:00 a.m.

13           IT IS SO ORDERED.

14   Dated: October 19, 2016

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       Stipulation to Continue Status Conference       -3-                      U.S. v. Figueras, 16-cr-45-MCE
